       Case 1:23-mi-99999-UNA Document 2835 Filed 09/01/23 Page 1 of 8




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

OSCAR BARNES and                        )
GWENDOLYN BARNES,                       )
                                        )
       Plaintiffs,                      )    CIVIL ACTION
                                        )    FILE NO. ____________
v.                                      )
                                        )    [On removal from the Superior Court
STATE FARM FIRE AND                     )    of Gwinnett County, Civil Action File
CASUALTY COMPANY,                       )    No. 23-A-06462-6]
A foreign corporation,                  )
                                        )
       Defendant.

                            NOTICE OF REMOVAL

      Comes now, STATE FARM FIRE AND CASUALTY COMPANY

(hereinafter “State Farm”), by and through its undersigned counsel, and hereby files

this Notice of Removal, respectfully showing this Honorable Court as follows:

                                        1.

      On July 27, 2023, Plaintiffs OSCAR BARNES and GWENDOLYN

BARNES (the “Plaintiffs”), by and through counsel, filed a Complaint against State

Farm in the Superior Court of Gwinnett County, Georgia, which is a county within

the Atlanta Division of this Court, styled as OSCAR BARNES and GWENDOLYN

BARNES v. STATE FARM FIRE AND CASUALTY COMPANY, and assigned Case
       Case 1:23-mi-99999-UNA Document 2835 Filed 09/01/23 Page 2 of 8




No. 23-A-06462-6 (the “Superior Court Action”). True and correct copies of all

process, pleadings, and orders served upon this defendant to date in the Superior

Court Action are collectively attached hereto as Exhibit “A.”

                                         2.

      The Complaint and Summons in this action were served upon State Farm on

August 2, 2023, the date on which State Farm first received the Complaint and notice

of this lawsuit. State Farm shows that this Notice of Removal is filed within thirty

(30) days from the date of service of said suit on Defendant. Thus, removal is timely

under 28 U.S.C. § 1446(b).

                                         3.

      The United States District Court for the Northern District of Georgia, Atlanta

Division, embraces Gwinnett County, Georgia. Removal to this Court is therefore

proper under 28 U.S.C. § 1441(a).

                                         4.

      Pursuant to 28 U.S.C. § 1446(d), promptly after the filing of this Notice of

Removal, State Farm will give written notice to the Plaintiffs by notifying their

attorney of record, Michael D. Turner, Esq., of The Huggins Law Firm, LLC, and

will file a copy of the Notice of Removal with the Clerk of Superior Court of

Gwinnett County, which shall effect the removal.
        Case 1:23-mi-99999-UNA Document 2835 Filed 09/01/23 Page 3 of 8




                            DIVERSITY JURISDICTION

                                          5.

        The United States District Court for the Northern District of Georgia, Atlanta

Division, possesses diversity jurisdiction over this matter pursuant to 28 U.S.C. §

1332.

                                          6.

        Plaintiffs OSCAR BARNES and GWENDOLYN BARNES are residents of

Atlanta, Georgia and citizens of the State of Georgia.

                                          7.

        State Farm is a corporation organized under the laws of the State of Illinois,

with its principal place of business in the State of Illinois. Thus, State Farm is a

citizen of the State of Illinois.

                                          8.

        Because Plaintiffs and State Farm are citizens of different States, complete

diversity exists between Plaintiffs and State Farm in accordance with 28 U.S.C. §

1332(a)(1).

                                          9.

        This action is a civil action between citizens of different state where the

controversy exceeds the sum of $75,000.00, exclusive of interest and costs.
       Case 1:23-mi-99999-UNA Document 2835 Filed 09/01/23 Page 4 of 8




Plaintiffs expressly allege in their Complaint that they are entitled to all damages to

their Property and any resulting expenses and temporary repairs, as well as bad faith

damages and attorney’s fees and costs. See, Complaint, Prayer for Relief. Given

the statements of Plaintiffs regarding the value of their claim and the amount they

contend they are entitled to recover, the amount in dispute in this matter will exceed

the jurisdictional requirement of $75,000.00.

                                         10.

      More specifically, in Plaintiffs’ Complaint, Plaintiffs seek damages in the

amount of $334,011.52. See Complaint, ¶ 17. Plaintiffs also seek bad faith damages

in the “amount of fifty percent (50%) of the total compensatory damages awarded

or $5,00.00, whichever is greater[.]” See Complaint, Prayer for Relief. Plaintiffs seek

further unspecified damages against State Farm, asking to recover “[a]ny and all

applicable multipliers” and “[a]ny and all other relief that the Court may deem just

and proper[.]” See Complaint, Prayer for Relief. Accordingly, the amount in

controversy, exceeds $75,000.00, exclusive of interest and costs, as required by 28

U.S.C. § 1332(a).

                                         11.

      This case is a civil action that may be removed to this Court pursuant to 28

U.S.C. § 1441.      This Court has original jurisdiction pursuant to 28 U.S.C.
       Case 1:23-mi-99999-UNA Document 2835 Filed 09/01/23 Page 5 of 8




§ 1332(a)(1) and (b) as there is complete diversity of citizenship between Plaintiffs

and Defendant and, as shown above, the amount in controversy exceeds $75,000.00.

Further, as required by 28 U.S.C. § 1441(b), Defendant State Farm is not a citizen

of the State of Georgia.

                                        12.

      Venue is proper in this Court for purposes of removal under 28 U.S.C.

§ 1441(a). By filing this Notice of Removal, State Farm does not waive any of its

jurisdictional objections or affirmative defenses.

      WHEREFORE, State Farm prays that this action proceed in this Court as an

action properly removed pursuant to 28 U.S.C. § 1446, and that no further

proceedings be had in said case in the Superior Court of Gwinnett County, Georgia.

      This 1st day of September, 2023.

                                       SWIFT, CURRIE, McGHEE & HIERS, LLP

                                       /s/ Christopher A. Wood
                                       Alex A. Mikhalevsky, Esq.
                                       Georgia Bar No. 711188
                                       Christopher A. Wood, Esq.
                                       Georgia Bar No. 272768
                                       Attorneys for Defendant State Farm Fire
                                       and Casualty Company
      Case 1:23-mi-99999-UNA Document 2835 Filed 09/01/23 Page 6 of 8




1420 Peachtree Street, NE, Suite 800
Atlanta, GA 30309
Tel: (404) 874-8800
Fax: (404) 888-6199
alex.mikhalevsky@swiftcurrie.com
Christopher.wood@swiftcurrie.com
      Case 1:23-mi-99999-UNA Document 2835 Filed 09/01/23 Page 7 of 8




                   LOCAL RULE 5.1C CERTIFICATION

      By signature below, counsel certifies that the foregoing pleading was prepared

in Times New Roman, 14-point font in compliance with Local Rule 5.1C.

      Respectfully submitted this 1st day of September, 2023.

                                       SWIFT, CURRIE, MCGHEE & HIERS

                                       /s/ Christopher A. Wood
                                       Alex A. Mikhalevsky, Esq.
                                       Georgia Bar No. 711188
                                       Christopher A. Wood, Esq.
                                       Georgia Bar No. 272768
                                       Attorneys for Defendant State Farm Fire
                                       and Casualty Company

1420 Peachtree Street, NE, Suite 800
Atlanta, GA 30309
Tel: (404) 874-8800
Fax: (404) 888-6199
alex.mikhalevsky@swiftcurrie.com
Christopher.wood@swiftcurrie.com
          Case 1:23-mi-99999-UNA Document 2835 Filed 09/01/23 Page 8 of 8




                           CERTIFICATE OF SERVICE

         I have this day electronically filed the foregoing NOTICE OF REMOVAL

with the Clerk of Court using the CM/ECF System. The clerk will serve opposing

counsel as follows:

                               J. Remington Huggins
                                 Michael D. Turner
                         THE HUGGINS LAW FIRM, LLC
                       110 Norcross Street, Roswell, GA 30075
                            remington@lawhuggins.com
                             mdturner@lawhuggins.com
                               Attorneys for Plaintiffs

         This 1st day of September, 2023.

                                        SWIFT, CURRIE, McGHEE & HIERS, LLP

                                        /s/ Christopher A. Wood
                                        Alex A. Mikhalevsky, Esq.
                                        Georgia Bar No. 711188
                                        Christopher A. Wood, Esq.
                                        Georgia Bar No. 272768
                                        Attorneys for Defendant State Farm Fire
                                        and Casualty Company

1420 Peachtree Street, NE, Suite 800
Atlanta, GA 30309
Tel: (404) 874-8800
Fax: (404) 888-6199
alex.mikhalevsky@swiftcurrie.com
Christopher.wood@swiftcurrie.com

4867-4081-7277, v. 1
